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14   UNITED STATES OF AMERICA,                       ) CASE NO. 17-CR-533-EMC
                                                     )
15           Plaintiff,                              ) Response in Opposition to Defendant Russell Lyles’s
                                                     ) “Notice of False Testimony”
16      v.                                           )
                                                     )
17   JONATHAN JOSEPH NELSON, et al.,                 )
                                                     )
18           Defendants.                             )
                                                     )
19

20           During the three-day Daubert hearing, ATF Intelligence Operations Specialist Jeremy Scheetz
21 made a mistake recalling a fact. Scheetz was mistaken in testifying that the Hells Angels Shasta charter

22 was frozen in 2007 because its members “never retaliated against the Mongols” after a member of the

23 Shasta charter was shot by the Mongols. ECF No. 1184-1 at 160–61. Instead, the Shasta charter was

24 frozen after its members failed to make the Vagos “back down” after “several violent confrontations”

25 with the Vagos. Krishnamurthy Declaration, Exhibit 1 at EXPERT-00000269–270 (Expert report of

26 Jorge Gil-Blanco).

27           But Scheetz’s mistake does not provide any basis for excluding his testimony. For one, the
28 nature of his mistake falls squarely within what the Ninth Circuit has held to be proper for impeachment

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 1 at trial, not wholesale exclusion under Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). This

 2 is so because “weakness” in the “factual underpinnings of the expert’s opinion goes to weight and

 3 credibility, rather than admissibility.” Bergen v. F/V St. Patrick, 816 F.2d 1345, 1352 n.5 (9th Cir.

 4 1987), opinion modified on reh’g, 866 F.2d 318 (9th Cir. 1989) (quotation omitted). And even if the

 5 Court were to disregard Scheetz’s testimony on the Shasta charter altogether, Scheetz’s opinions would

 6 still be well supported.

 7           Lyles’ passing suggestion that the Court should exclude Scheetz’ testimony under Napue v.

 8 Illinois, 360 U.S. 264 (1959) should also be rejected. As Lyles acknowledges, Napue is applicable only

 9 at trial. Further, the Ninth Circuit has made clear that an “honestly mistaken witness recollection” is not

10 false testimony. United States v. Renzi, 769 F.3d 731, 752 (9th Cir. 2014). In this case, Scheetz conflated

11 two sets of violent incidents that both took place a decade ago. And importantly, an accurate recollection

12 of the facts would have supported Scheetz’s opinion too. The circumstances of Scheetz’ mistake

13 demonstrate that it was not intentional.

14      I.      Background

15           A. Scheetz’s testimony

16           Scheetz’s testimony about the Shasta charter arose in the context of his discussion of “charter

17 autonomy.” In his declaration, Scheetz stated that even though “there are differences in how charters

18 operate,” there “are also significant similarities between charters” and that “charters believe themselves

19 bound together as part of a single organization with the same values and culture.” ECF No. 1084-1, ¶¶

20 84–85. In support, Scheetz listed a number of examples, including that there exist World Rules that are

21 generally followed, that different charters communicate regularly about both outgoing members and

22 incoming prospects, that different charters share common enemies such as the Mongols and Vagos, and

23 that individual charters are bound by decisions made by the Hells Angels organization as a whole. ECF

24 No. 1084-1, ¶¶ 85–89. As one example of this last point, Scheetz wrote in his declaration that “the

25 Sonoma County charter submitted a motion (seconded by the Frisco Charter), to expel most of the

26 Shasta County charter members from the club” and that the “Shasta County charter was subsequently

27 ‘frozen.’” ECF No. 1084-1, ¶¶ 88.

28           During cross-examination, Scheetz was asked about this incident. He testified that he had spoken

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 1 to another law enforcement officer, Jorge Gil-Blanco, who told him that the Shasta charter was “shut

 2 down because they did not retaliate for a member being shot.” ECF No. 1184-1 at 159. Specifically,

 3 “certain members were asked to leave before they were kicked out because they never retaliated versus

 4 the Mongols.” ECF No. 1184-1 at 160. Scheetz also stated that he knew that one of the Shasta charter

 5 members named “Mr. Thom[p]son” “received a purple heart” and that he had spoken with ATF

 6 undercover officers who had infiltrated the Mongols; these officers told him that the Shasta charter had

 7 never retaliated for the shooting of Thompson. ECF No. 1184-1 at 161–62.

 8          On redirect, Scheetz testified again that he was told by Gil-Blanco that the Shasta charter was

 9 ultimately frozen because it “did not retaliate for Mr. Thom[p]son being shot.” ECF No. 1184-1 at 320.

10 He elaborated that Thompson was a “member at the time of the Hells Angels Shasta County charter”

11 who was shot by “members of the Mongols.” ECF No. 1184-1 at 320. Scheetz further explained that he

12 had reached out to ATF law enforcement officers who had been undercover with the Mongols: these

13 officers confirmed to him that the Mongols had shot a member of the Hells Angels and the Hells Angels

14 did not retaliate, but they “didn’t go into detail about the charter being frozen.” ECF No. 1184-1 at 324–

15 325.

16          B. Gil- Blanco’s Report

17          Scheetz was mistaken in his recollection regarding the Thompson shooting being a specific

18 reason for Shasta’s dissolution.

19          According to the expert report of Gil Blanco—produced to the defense on January 31, 2020—Gil

20 Blanco believed that the Shasta charter was frozen not due to gang rivalry between the Hells Angels and

21 the Mongols, but rather “due to the gang rivalry between the Hells Angels and Vagos.” Krishnamurthy

22 Declaration, Exhibit 1 at EXPERT-00000267. Specifically, the Sonoma charter had been “upset with

23 Shasta” because they did not “handle the situation” with the Vagos “properly”: “there were several

24 violent confrontations between the Vagos and Shasta Charter” and “Sonoma felt that Shasta was unable

25 to properly make the Vagos back down.” Krishnamurthy Declaration, Exhibit 1 at EXPERT-00000269–

26 270. Thus, the mistake made by Scheetz is that he incorrectly recalled the Thompson shooting as being a

27 basis for the dissolution of the Shasta charter, rather than other disputes between the Hells Angels and

28 Vagos.

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 1            But as Lyles himself concedes, it is still true that Robert Thompson, a former member of the

 2 Shasta charter, was shot by the Mongols. ECF No. 1205-2. It is also true that Scheetz spoke with both

 3 Gil-Blanco and ATF undercover officers about this shooting, and based on these conversations, Scheetz

 4 believes that the Hells Angels never retaliated for the Thompson shooting.

 5      II.      Scheetz’s mistake of fact does not warrant exclusion

 6            Scheetz’s mistake of fact does not warrant the exclusion of his testimony. While this error

 7 provides the defense with impeachment material at trial, it does not undermine the overall reliability of

 8 Scheetz’s expertise given the totality of his testimony and opinions.

 9            The Ninth Circuit has made clear that cross-examination—not exclusion—is the remedy for

10 these types of issues. The gatekeeping function is meant to “screen the jury from unreliable nonsense

11 opinions, but not to exclude opinions merely because they are impeachable.” Alaska Rent-A-Car, Inc. v.

12 Avis/Budget Group, 738 F.3d 960, 969 (9th Cir. 2013). “Vigorous cross-examination, presentation of

13 contrary evidence, and careful instruction on the burden of proof are the traditional and appropriate

14 means of attacking shaky but admissible evidence.” Daubert, 509 U.S. at 596.

15            Accordingly, “weakness” in the “factual underpinnings of the expert’s opinion goes to weight

16 and credibility, rather than admissibility.” Bergen, 816 F.2d at 1352 n.5 (quotation omitted). This is so

17 because “[t]he trier of fact is then capable of judging the credibility of the witness as it would that of

18 anyone else giving expert testimony.” United States v. Sims, 514 F.2d 147, 149 (9th Cir. 1975). See also

19 McLean v. 988011 Ontario, Ltd., 224 F.3d 797, 801 (6th Cir. 2000) (“weaknesses in the factual basis of

20 an expert witness’ opinion bear on the weight of the evidence rather than on its admissibility” (quotation

21 omitted and alteration adopted)); Hartley v. Dillard’s, Inc., 310 F. 3d 1054, 1061 (8th Cir. 2002) (“As a

22 general rule, the factual basis of an expert opinion goes to the credibility of the testimony, not the

23 admissibility[.]”); Romero v. S. Schwab Co., Inc., No. 15-CV-815-GPC-MDD, 2017 WL 5885543, at

24 *14 (S.D. Cal. Nov. 29, 2017) (“Moreover, any alleged contradictory statements Dr. Brones made

25 during the litigation may affect credibility determinations that go to the weight, not admissibility, of the

26 evidence and can be challenged at trial.”).

27            Under this standard, “[t]he jury is entitled to hear” Scheetz’s “testimony and decide whether to

28 accept or reject it after considering whether predicate facts on which the expert relied were accurate.”

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 1 Nomo Agroindustrial Sa De Cv v. Enza Zaden N. Am., Inc., No. CV 05-351-TUC-FRZ, 2009 WL

 2 211085, at *5 (D. Ariz. Jan. 29, 2009). This is especially true because Scheetz’s error does not cast

 3 doubt on his conclusion. Specifically, as described above, Scheetz believes that there are “significant

 4 similarities between charters” and that “charters believe themselves bound together as part of a single

 5 organization with the same values and culture.” ECF No. 1084-1, ¶¶ 84–85. The Shasta charter incident

 6 is but one reason that Scheetz believes this is true: even without relying on it, Scheetz’s conclusion is

 7 still supported by charters’ adherence to a single set of rules; charters’ use of a single set of symbols;

 8 internal communications between charters about important events; internal communications between

 9 charters about prospective and outgoing members; and charters’ belief that they share common rivals.

10 ECF No. 1084-1, ¶¶ 85–89. And even beyond these additional factors, even Lyles appears to accept that

11 an accurate recounting of the Shasta incident still supports Scheetz’s conclusion: regardless of which

12 violent incident led to Shasta’s dissolution, it appears that the Shasta charter was frozen by the Hells

13 Angels’ West Coast officers after the charter failed to respond appropriately to violence by rivals.

14          Lyles contends that that even if Scheetz’s testimony was not knowingly false, it still warrants

15 exclusion because it reveals “cognitive biases, information processing limitations, and memory

16 problems.” ECF No. 1205 at 12. This argument is foreclosed by the Ninth Circuit. In United States v.

17 Abonce-Barrera, 257 F.3d 959 (9th Cir. 2001), for instance, the Ninth Circuit rejected an argument that

18 an expert should have been excluded because of his bias, explaining that “[g]enerally, evidence of bias

19 goes toward the credibility of a witness, not his competency to testify, and credibility is an issue for the

20 jury.” Id. at 965. See also IGT v. All. Gaming Corp., No. 2:04-CV-1676, 2008 WL 7084608, at *2 (D.

21 Nev. Oct. 21, 2008) (“The case law is clear that bias is not a bar to admission of expert testimony, and in

22 this case, the bias is not so prejudicial as to outweigh the probative value of his testimony under Federal

23 Rule of Evidence 403.”).

24          The same is true of Lyles’s contention that Scheetz’s testimony should be excluded because of

25 his “practice of not taking notes, memorializing, or otherwise documenting information.” ECF No. 1205

26 at 2 (emphasis omitted). The Ninth Circuit has made clear that “adherence to protocol” is “an issue for

27 the jury” rather than one of admissibility. City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1047

28 (9th Cir. 2014). In short, because “[d]isputes as to the strength of an expert’s credentials, faults in his use

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 1 of a particular methodology, or lack of textual authority for his opinion, go to the weight, not the

 2 admissibility, of his testimony,” Kennedy v. Collagen Corp., 161 F.3d 1226, 1231 (9th Cir. 1998)

 3 (quotation omitted and alterations adopted), Scheetz’s testimony should be admitted.

 4          In passing, Lyles suggests that Scheetz’s testimony could give rise to a claim under Napue v.

 5 Illinois, 360 U.S. 264, 265 (1959). ECF No. 1205 at 14. As Lyles acknowledges, however, Napue

 6 applies only at trial. In any event, this argument fails as well. For one, as explained above, a witness’s

 7 “recollection merely being mistaken, inaccurate or rebuttable” does not render it false within the

 8 meaning of Napue. Henry v. Ryan, 720 F.3d 1073, 1084 (9th Cir. 2013). Napue instead requires a

 9 knowing false statement at trial. Id. As a result, “honestly mistaken witness recollections generally do

10 not satisfy the falsehood requirement.” Renzi, 769 F.3d at 752.

11          In Henry, for example, the Ninth Circuit rejected a Napue claim after the petitioner “provided

12 evidence rebutting [a witness’s] version of the facts” because the petitioner had “provided no evidence

13 that [the witness] knew his testimony was inaccurate at the time he presented it, rather than [the

14 witness’s] recollection merely being mistaken, inaccurate or rebuttable”; the petitioner’s “conclusory

15 assertion” was insufficient. Id. at 1084. The same is true here, and this alone is enough to defeat Lyles’s

16 argument.

17          The circumstances here demonstrate that Scheetz’s mistake was unintentional. As described

18 above, during a multi-day cross examination and redirect, Scheetz mixed up two sets of violent incidents

19 involving the Hells Angels, both of which took place over a decade ago. And if Scheetz had accurately

20 recalled why the Shasta charter was frozen, this would not have undermined his conclusion: the

21 dissolution of the Shasta charter still provides a basis to opine that individual charters are bound by

22 decisions made by the Hells Angels organization as a whole. ECF No. 1084-1, ¶¶ 85–89.

23          Lyles also cannot show that “the prosecution knew or should have known that [Scheetz’s]

24 testimony was” inaccurate. Id. On this point, it is significant that Gil-Blanco’s expert report—to which

25 Lyles now points to as evidence of Scheetz’s error—was produced to the defense in January 2020. The

26 Shasta discussion occupies about two pages of a 65-page report, and Gil-Blanco’s report itself was just a

27 small part of the over 1,500 pages of law enforcement reports, newspaper articles, photographs, and

28 other documents that the United States produced related to Scheetz’s testimony. If the prosecution

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 1 “should have known” about Scheetz’s factual error, so too should have the defense. But none of the

 2 defense counsel raised this issue during the hearing.

 3             Finally, Scheetz’s error was not material. For the reasons explained above, even without reliance

 4 on the Shasta example, Scheetz’s conclusion that “charters believe themselves bound together as part of

 5 a single organization with the same values and culture,” ECF No. 1084-1, ¶¶ 84–85, is still well-

 6 supported by the record.

 7      III.      Conclusion

 8             For the foregoing reasons, the United States opposes Lyles’ “Notice of False Testimony.” To the

 9 extent that the Notice seeks any relief with respect to Scheetz’ proposed testimony, the Court should

10 deny that request.

11

12 DATED: September 22, 2020                                       Respectfully submitted,

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15
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